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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ROBERT ROSS,                                        Case No. 19-cv-06669-JST
                                                        Plaintiff,
                                   8
                                                                                             ORDER VACATING HEARING
                                                  v.
                                   9

                                  10     AT&T MOBILITY, LLC,                                 Re: ECF No. 58
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is Plaintiff Robert Ross’s motion to file first amended complaint. ECF

                                  14   No. 58. Pursuant to Federal Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court

                                  15   finds the matter suitable for disposition without oral argument. The hearing on this matter,

                                  16   currently scheduled for October 14, 2020, is hereby VACATED.

                                  17          If, however, any party advises the Court in writing by no later than two days from the date

                                  18   of this order that most or all of the argument for its side will be conducted by a lawyer who either

                                  19   (1) has been licensed to practice law for five or fewer years and has not previously presented

                                  20   argument before this Court or (2) has not previously argued a substantive motion in any federal

                                  21   court, then the Court will reschedule the hearing at a time that is convenient to all parties to

                                  22   provide that opportunity. Counsel shall confer with each other, and the party requesting the

                                  23   rescheduling of the hearing shall identify the upcoming available dates on the Court’s calendar at

                                  24   which all counsel are available for the hearing.

                                  25          IT IS SO ORDERED.

                                  26   Dated: October 6, 2020
                                                                                          ______________________________________
                                  27
                                                                                                        JON S. TIGAR
                                  28                                                              United States District Judge
